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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA,


        v.                                           1:15-cr-00367-WSD
 ANTHONY LEPORE, JOHN RIFE,
 and BRIAN DOMALIK,
                    Defendants.


                             OPINION AND ORDER

      This matter is before the Court on the Government’s oral motions for

reconsideration of the Court’s September 19, 2016, Opinion and Order [213]. Also

before the Court is the Government’s oral motion to admit testimony from Andrea

Kiehl (“Kiehl”), Diversified Maintenance Systems’ (“DMS”) former General

Counsel, that she told Defendant Anthony Lepore (“Lepore”) that, because he was

a target of a criminal investigation, “DMS would only go forward with the

acquisition of Rite Way if it was structured as an asset purchase transaction.”

([198] at 7).

I.    BACKGROUND

      On July 13, 2016, the Government filed its First Omnibus Motion in Limine

to Admit Evidence at Trial [106], seeking to admit evidence of Lepore’s “material
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misrepresentations” during negotiations to sell Rite Way Services Inc.

(“Rite Way”) to DMS. ([106] at 12). On August 22, 2016, the Government filed

its Notice of Intent to Introduce Evidence [sic] Rule 404(b) [157], stating the

Government intends to introduce evidence of Lepore’s “false statements and

omissions” to Kiehl and DMS CEO Alan Butcher (“Butcher”). ([157.1] at 2). On

August 25, 2016, the Court denied [167] the Government’s motion without

prejudice because the Government did not identify the specific misrepresentations

it sought to introduce. ([167] at 27). The Court directed the Government to

proffer, at trial, all of the misrepresentations, by Lepore to DMS, that the

Government seeks to introduce. ([167] at 27). On September 16, 2016, the

Government provided the Court with a written description of Kiehl’s expected

testimony about the WSB-TV news report and Lepore’s allegedly false statements

and omissions to her.

      Early in the morning on September 19, 2016, and during the course of the

trial in this case, the Court issued its Opinion and Order, granting in part and

denying in part the Government’s request to admit Kiehl’s testimony about certain

of her conversations with Lepore. Before the jury was called to begin the trial day,

the Government orally moved for reconsideration of two of the Court’s rulings on

the grounds that they included factual errors. The Government also moved orally

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to admit Kiehl’s statement to Lepore that, because he was a target of a criminal

investigation, “DMS would only go forward with the acquisition of Rite Way if it

was structured as an asset purchase transaction.” ([198] at 7).

II.   LEGAL STANDARD

      “Although no statute or rule expressly provides for the filing of a motion for

reconsideration in criminal cases, federal district courts necessarily have

substantial discretion in ruling on motions for reconsideration.” United

States v. Snowden, No. 15-cr-134, 2015 WL 5595767, at *1 (S.D. Ala. Sept. 21,

2015) (internal quotation marks omitted) (quoting United States v. Mason, No. 07-

cr-52, 2008 WL 1882255, at * 1 (M.D. Fla. Apr. 24, 2008)); see United

States v. Brown, No. 114-cr-25, 2014 WL 6616997, at *1 (S.D. Ga. Nov. 21, 2014)

(same); United States v. Saintvil, No. 1:12-cr-285, 2013 WL 6196523, at *2 (N.D.

Ga. Nov. 27, 2013) (same). The appropriate grounds for granting reconsideration

include: “(1) an intervening change in controlling law; (2) the availability of new

evidence; and (3) the need to correct clear error or manifest injustice.” Id.; see

also Jersawitz v. People TV, 71 F. Supp. 2d 1330, 1344 (N.D. Ga. 1999)

(discussing motions for reconsideration in the civil action context); Pres.

Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs, 916 F.

Supp. 1557, 1560 (N.D. Ga. 1995), aff’d, 87 F.3d 1242 (11th Cir. 1996) (“A

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motion for reconsideration is not an opportunity for the moving party and their

counsel to instruct the court on how the court ‘could have done it better’ the first

time.”).

III.   DISCUSSION

       A.    Oral Motions for Reconsideration

       The Government seeks to admit Lepore’s October 2013, statement to Kiehl

that he “just found out for the first time, the night before,” that Defendant Brian

Domalik and four other Rite Way employees were interviewed by the Georgia

Bureau of Investigation (“GBI”). ([198] at 5). The Government states that Lepore

knew about the interviews in August 2013, and that his statement to the contrary

suggests a consciousness of guilt. False exculpatory statements may be used as

evidence of consciousness of guilt. See United States v. Alejandro, 118 F.3d 1518,

1521 (11th Cir. 1997). However, “sometimes the evidence [of false exculpatory

statements] is excludable because a necessary inference is implausible under the

circumstances.” 1 Christopher B. Mueller & Laird C. Kirkpatrick, Federal

Evidence § 4:4 (4th ed. May 2016 Update).

       The question here is whether the statement about when Lepore learned of the

interviews is a false exculpatory statement evincing his consciousness of guilt.

The Court finds it is not. Even if the statement was untrue, it does not suggest

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Lepore’s consciousness of guilt, including because it does not suggest he believed

he committed an offense or engaged in wrongdoing. The statement, if meaningful

at all, was an effort by Lepore to conceal his failure to timely disclose the

investigation to a company that he sought to encourage to pursue its purchase of

Rite Way.

      Lepore’s statement about the date he became aware of the GBI interviews

does not constitute a representation about the facts underlying the alleged offenses

or his involvement in those offenses. See United States v. Littlefield, 840 F.2d

143, 149 (1st Cir. 1988) (“For an allegedly false exculpatory statement to be of any

value in the factfinder’s deliberations, we think it either must involve a matter

collateral to the facts establishing guilt or should be so incredible that its very

implausibility suggests that it was created to conceal guilt.” (citations omitted));

Mueller & Kirkpatrick, Federal Evidence § 4:4 (false exculpatory statements

should be “closely related to the crime charged,” such as “a statement denying an

element of the crime”). “Typical of the statements admitted to show guilty mind

are false claims of alibi, denials of presence at the scene of the crime, false claims

of identity, false explanations of activities, false explanations of possession of

goods and other objects, and false denials of acquaintance with others involved in

the crime.” Mueller & Kirkpatrick, Federal Evidence § 4:4. Lepore’s statement to

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a potential purchaser of his business about when he became aware of certain

interviews does not fit into these categories, and had no bearing on the likelihood

of his conviction. The Government’s motion for reconsideration on this issue is

denied.

      The Government also moved the Court to reconsider its exclusion of Kiehl’s

testimony that Lepore reacted calmly when she told him DMS would only proceed

with the acquisition of Rite Way if the transaction was restructured as an asset

purchase. ([198] at 7). The Court denied the Government’s motion during the

September 19, 2016, hearing with the parties. Lepore’s reaction to the

restructuring of Rite Way’s acquisition is excluded as irrelevant.1

      B.     Oral Motion to Admit Kiehl’s March 2014, Statements to Lepore
             about the Structure of the Acquisition

      The Court has not addressed the admissibility of Kiehl’s March 2014,

statement to Lepore that, because Lepore was a target of the investigation, “DMS

would only go forward with the acquisition of Rite Way if it was structured as an


1
        During its oral motions for reconsideration, the Government also argued for
the admissibility of Defendant John Rife’s (“Rife”) statement to Kiehl that “he
didn’t know anything about” [the issues involved in the investigation]. ([198]
at 7). The Court’s September 19, 2016, written Order does not address the
admissibility of this statement. The Order states explicitly that the Court will rule,
at trial, on any objections to Kiehl’s testimony about this statement. ([213]
at 2 n.1). Rife’s statement likely is admissible as a false exculpatory statement.

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asset purchase transaction.” ([198] at 7). On September 19, 2016, the Government

orally moved to admit this statement as relevant to Lepore’s motive for deleting the

email account. Kiehl referred to the criminal investigation to justify DMS’

unwillingness to proceed with a stock purchase transaction. It was not a statement

made by a criminal investigator or prosecutor putting Lepore on notice of his status

in the investigation.2 It was a statement of the impact of the fact of the

investigation on DMS’ approach to its potential acquisition of Rite Way. The

statement made clear that DMS would proceed with the transaction as an

acquisition of Rite Way’s assets and not its stock, thus limiting DMS’ liability for

the consequences of the criminal investigation and its costs. There is no evidence

that Kiehl told Lepore of the impact, if any, of this change on him personally or

that it otherwise would have motivated him to delete his emails.

      That the transaction closed days later as an asset sale, and Lepore then left

the company, supports the testimony at trial that Lepore sought the deletion of his

email account and not the contents of that account, which were stored remotely on

a server. For this reason, the temporal relationship between Kiehl’s statement and

Lepore’s request to take action to migrate him to a new computer and email
2
      Lepore almost certainly already knew he was a target because, as the
Government has represented to the Court, it was his counsel who informed Kiehl
of Lepore’s status as a target of the investigation.

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account is not evidence of his intent to delete his emails.3 The Government’s

motion on this issue is denied.

IV.   CONCLUSION

      For the foregoing reasons,

      IT IS HEREBY ORDERED that the Government’s oral motions for

reconsideration of the Court’s September 19, 2016, Opinion and Order [213] are

DENIED.

      IT IS FURTHER ORDERED that the Government’s oral motion to admit

Andrea Kiehl’s proffered testimony is DENIED.4



      SO ORDERED this 20th day of September, 2016.



                                             _______________________________
                                             WILLIAM S. DUFFEY, JR.
                                             UNITED STATES DISTRICT JUDGE

3
       The Court notes that Deborah Howell testified, at trial, that Lepore asked her
to delete his email account in anticipation of the DMS purchase, and that the
deletion was repeatedly “put off” because the acquisition date was repeatedly
pushed back.
4
       To the extent the Government seeks Kiehl to testify that she told Lepore
that, as a result of the pending investigation, DMS would only go forward with the
acquisition of Rite Way if the transaction was structured as an asset purchase, that
testimony is allowed but without stating she had heard he was a target of the
investigation.

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